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                                  UNITED STATES BANKRUPTCY COURT
                                       W estern District of Kentucky

In Re   M elanie J. Berger                                      Case No. 12-31737
        Debtor(s)                                               Chapter 13



                                             CHAPTER 13 PLAN
                                                49% Plan
NOTICE TO CREDITORS: This plan may modify your rights. If you oppose any provision of the plan you
must file an objection with the Bankruptcy Court by the deadline fixed by the Court. If you do not file a
timely objection, you will have accepted the terms of the Plan, and the Plan can be confirmed and the motions
granted without further notice or hearing.




Reference to “Debtor” herein shall include both debtors in joint case.

1.      PLAN PAYM ENTS. The Debtor shall pay to the Trustee the sum of $530.00 per month for 60 months.
        Unsecured creditors shall receive a dividend of approximately 49 percent (49% ).

                 a.       Total of plan payments: $ 31,800.00

                 b.       Plan payments shall be made to the Trustee by Payroll Deduction:

                          Employer Name: Caretenders
                          Address:       9510 Ormsby Station Road, Ste. 300
                                         Louisville KY 40223

                          $132.50 to be deducted weekly and remitted to the Trustee


2.      Allowed Claims against the Debtor shall be paid in accordance with the provisions of the Bankruptcy Code
        and this Plan.

                 a.       Secured creditors shall retain their mortgage, lien or security interest in the collateral until
                          the earlier of (a) payment of the underlying debt determined
                          under nonbankruptcy law, or (b) discharge under 11 U.S.C. § 1328.

                 b.       Creditors who have co-signers, co-makers, or guarantors (“Co-Obligors”)
                          from whom they are enjoined from collection under 11 U.S.C. § 1301, and
                          which are separately classified and shall file their claims, including all of the contractual
                          interest which is due or will become due during the consummation of the Plan, and
                          payment of the amount specified in proof of claims to the creditor shall constitute full
                          payment of the debt as to the Debtor and any Co-Obligor.

                 c.       All priority creditors under 11 U.S.C. §507 shall be paid in full in deferred cash
                          payments.


3.      PRIORITY PAYM ENTS. From the payments received under the plan, the trustee shall make
        disbursements as follows:
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     a.    Administrative Expenses

           (1)      Trustee’s Fee: The percentage fee of 3.5% payable to the Trustee shall be paid before or
                    at the time of each payment to creditors and other claimants. The Trustee is authorized to
                    collect the statutory percentage fee at the time of the distribution of pre-confirmation
                    adequate protection payments.

           (2)      Attorney’s Fee: The amount of attorney’s fee to be paid through the plan is $2,750.00.


     b.    Priority Claims under 11 U.S.C. § 507

           -NONE-

4.   SECURED CLAIM S

           (1)      Pre-Confirmation Adequate Protection Payments. Pre-Confirmation adequate protection
                    payments to the following Creditors holding allowed claims secured by a purchase money
                    security interest in personal property shall be paid by the Trustee through the plan as
                    provided below. Adequate protection payments shall not accrue or be paid until the
                    Creditor files a proof of claim. The principal amount of the Creditor’s claim shall be
                    reduced by the amount of the adequate protection payments remitted.

           Secured Creditor                    Collateral Description                Pre-Confirmation
                                                                                     M onthly Payment

           -NONE-

           (2)      Secured Debts W hich W ill Not Extend Beyond the Length of the Plan.

                    (a)      Secured Claims Valued Under § 506. The Debtor moves the Court to value
                             the collateral as follows according to 11 U.S.C. § 506(a). Each of the following
                             secured claims, if allowed, shall be paid through the plan in equal monthly
                             payments as set forth below, until the secured value or the amount of claim,
                             whichever is less, has been paid in full. Any remaining portion of the allowed
                             claim shall be treated as a general unsecured claim. Any claim with a secured
                             value of $0 shall be treated as a general unsecured claim.

                    Name       Proposed Amount of           Monthly Payment        Interest Rate (if specified)
                               Allowed Secured Claim

                    -NONE-

                    (b)      Secured Claims Not Valued Under § 506. Each of the following claims, if
                             allowed, shall be paid through the plan in equal monthly payments set forth
                             below, until the amount of the claim as set forth in the Creditor’s proof of claim
                             has been paid in full.

           Name                           Proposed Amount of           Monthly Payment        Interest Rate
                                          Allowed Secured Claim                               (if specified)

           Capital One Auto Finance            $13,679.00                  $258.14            5.0%
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               (3)      Secured Debts W hich W ill Extend Beyond the Length of the Plan.

               Name          Amount of Claim           Monthly Payment        Interest Rate (if specified)

               -NONE


5.    UNSECURED CLAIM S

               (1)      Special Nonpriority Unsecured: Debts which are co-signed or are non-dischargeable shall
                        be paid in full (100%).
               Name                        Amount of Claim                  Interest Rate (if specified)

               -NONE

               (2)      General Nonpriority Unsecured: The trustee shall calculate the “pool” amount available
                        for distribution to unsecured creditors. Creditors holding general unsecured claims shall
                        be paid on a pro rata basis to the greatest extent possible, with no interest if the creditor
                        has no Co-Obligors, provided that where the amount or balance of any unsecured claim is
                        less than $10.00 it may be paid in full.

6.    The Debtor proposes to cure defaults to the following creditors by means of monthly payments to the
      Trustee:

               Name                                 Amount of Default to be Cured                  Interest Rate

               W ells Fargo Home M ortgage          $7,320.00

7.    The Debtor shall make regular payments directly to the following creditors:

               Name                           Amount of Claim              Monthly Payment            Interest Rate

               W ells Fargo Home M ortgage $120,220.00                          $919.00


8.    The following executory contracts of the debtor are rejected:

               Other Party                          Description of Contract or Lease

               -NONE-

9.    Property to Be Surrendered to Secured Creditor

               Name               Amount of Claim             Description of Property

               -NONE-

10.   The following liens shall be avoided pursuant to 11 U.S.C. § 522(f), or other applicable sections of the
      Bankruptcy Code:

               Name               Amount of Claim             Description of Property

               -NONE-

11.   Title to the Debtor’s property shall revest in the debtor on confirmation of a plan.
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12.   If at any time during the life of the plan an order terminating the automatic stay is entered, no further
      distributions shall be made to the Creditor until such time as an amended claim for any deficiency is filed
      and allowed. Any allowed claim for deficiency shall be treated as a general unsecured claim.

13.   An order of the Bankruptcy Court supercedes any provision of the plan which is in conflict with the Order.


      Dated:   April 11, 2012             Signature:         /s/ M elanie J. Berger
                                                             Debtor




      Attorney:         /s/ Alisha D. Triplett
                        Alisha D. Triplett
